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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           ) CHAPTER 13
                                                 )
DENISE LAWSON SERKEDAKIS                         ) CASE NO.: 20-67575-JWC
WILLIAM CONSTANTINE                              )
SERKEDAKIS ,                                     )
                                                 )
         Debtors.                                )

         APPLICATION TO APPROVE EMPLOYMENT OF SPECIAL COUNSEL

         COMES NOW, Denise Lawson Serkedakis and William Constantine Serkedakis
(“Debtors”), and by and through the undersigned counsel respectfully requests that this Court
approve the employment of the Law Office of Christopher L. Denison to represent Debtors as
counsel of record regarding a claim against West Coast Servicing, LLC. In support of this
application, Debtors show to this Court the following:
                                                1.
         On June 26, 2020, Debtors filed a Petition for relief under Chapter 13 of the Bankruptcy
Code, Case Number 20-67575-JWC.
                                                2.
         Debtors retained Law Office of Christopher L. Denison as counsel to represent them in a
claim against West Coast Servicing, LLC.
                                                3.
         Debtors request that the Court approve the employment of Law Office of Christopher L.
Denison for the express purpose of representing Debtors in their claim against West Coast
Servicing, LLC.
                                                4.
         Debtors have employed Law Office of Christopher L. Denison for professional services
and agreed to a payment agreement in contract to hire special counsel. All remaining
compensation paid to Debtors is subject to approval by this Court. Debtors believe that approval
of the employment of the Law Office of Christopher L. Denison would be in the best interest of
the estate.
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                                                5.
       Debtors acknowledge that that any money received or owed in the claim is subject to the
approval of the Chapter 13 Trustee and the U.S. Bankruptcy Court.
                                                6.

       To the best of Debtors’ knowledge, the proposed special counsel does not have any
connection with the Debtors, creditors, any other party in interest, their respective attorneys and
accountants, the United States Trustee, or any person employed by the office of the United States
trustee (the “Relevant Parties”) (see attached Affidavit of Counsel marked as Exhibit “A”).

       WHEREFORE, Debtors pray that the Court approve Debtors’ employment of Law Office
of Christopher L. Denison in their claim against West Coast Servicing, LLC as provided under
Chapter 13 of the Bankruptcy Code.

Dated: March 17, 2021                                Respectfully submitted,

                                                       /s/
                                                     Jonathan A. Proctor
                                                     GA Bar No.: 890603
                                                     The Semrad Law Firm, LLC
                                                     235 Peachtree Street NE
                                                     Suite 300
                                                     Atlanta, Georgia 30303
                                                     (678) 668-7160
                                                     Attorney for the Debtor
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                           ) CHAPTER 13
                                                 )
DENISE LAWSON SERKEDAKIS                         ) CASE NO.: 20-67575-JWC
WILLIAM CONSTANTINE                              )
SERKEDAKIS ,                                     )
                                                 )
         Debtors.                                )

                               CERTIFICATE OF SERVICE:

       I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the within Application to Approve Employment of Special Counsel upon the following by
depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to ensure
delivery:

        Denise Lawson Serkedakis                     Law Office of Christopher L. Denison
       William Constantine Serkedakis                1735 Buford Hwy, Suite 215, No. 272
           3629 Lakeshore Dr SW                             Cumming, GA 30092
             Smyrna, GA 30082

                 U.S. Trustee
          75 Ted Turner St., SW #362
              Atlanta, GA 30303


       I further certify that, by agreement of parties, Nancy J. Whaley, Standing Chapter 13
Trustee, was served via ECF.

Dated: March 17, 2021                                 /s/
                                                    Jonathan A. Proctor
                                                    GA Bar No.: 890603
                                                    The Semrad Law Firm, LLC
                                                    235 Peachtree Street NE
                                                    Suite 300
                                                    Atlanta, Georgia 30303
                                                    (678) 668-7160
                                                    Attorney for the Debtor
